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                            UNITED STATES DISTRICT COURT
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                            *o*r"r*ilr?,fi$Bir;S,tiillNols           cLEJ{?jl$BgrHgI$r*,


     UNITED STATES OF AMERICA
                                              Case   No: 18 CR 157
                       v.

     JONATIIAN MASON, aMa "Chip," Violations: Title 21, United States Code,
     KEVIN TWYMAN, I(AREEM Sections 8a1(aX1) and 846, and Title 18,
     MOONEY, alHa "Reno," DEON PUGH, United States Code, Sections 2 and
     alWa "Big D," EDUARDO ANDERSON, 922(s)
     aMa "Doe," DERRICK WILTZ, aMa
     "Do-Dirty," DENNIS I\[YERS, aMa   XIDOELFF
     "Dino," RYAN PEARSON, ALVIN
     WILLIAMS, MARTELL WHITE, alWa     IMEMfiEX'DGE VALDEZ
     "Rude Boy," and WILLIAM RUTLEDGE


                                      COUNT ONE

          The SPECIAL FEBRUARY 2Ol7 GRAND JURY charges:

          1.    Beginning no later than in or about September 2017, and continuing to

    in or about March 2018, at Chicago, in the Northern District of Illinois, Eastern
    Division,

                                    JONATHAN MASON,
                                      KEVIN TWYMAN,
                                     KAREEM MOONEY,
                                       DEON PUGH,
                                   EDUARDO ANDERSON,
                                      DERRICK WTLTZ,
                                      DENNIS NIYERS,
                                      RYAN PEARSON,
                                   AIVIN WILLIAMS, and
                                      MARTELL WHITE

    defendants herein, did conspire with each other and with others known and unknown

    to knowingly and intentionally possess with intent to distribute and distribute    a
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controlled substance, namely, a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule       I   Controlled Substance; a quantity of a

mixture and substance containing a detectable amount of fentanyl (N-phenyl-N-1 [1-

(2-phenylethyl)-4-piperindinyll propanamide), a Schedule II Controlled Substance; a

quantity of a mixture and substance containing a detectable amount of cocaine, a

Schedule   II   Controlled Substance; and    a quantity of a mixture and substance
containing a detectable amount of marijuana, a Schedule I Controlled Substance; in

violation of Title 21, United States Code, Section 8a1(aX1);

      All in violation of Title 21, United States Code, Section 846; and

      2.        With respect to JONATIIAN MASON, also known as "Chip," KEVIN

TWYMAN, KAREEM MOONEY, also known as "Reno," DEON PUGH, also known

as "Big D," DERRICK WILTZ, also known as "Do-Dirty," DENNIS NtyERS, also

known as "Dino," and RYAN PEARSON, the offense involved 1 kilogram or more of

a mixture and substance containing a detectable amount of heroin, a Schedule I

Controlled Substance; and 400 grams or more of a mixture and substance containing

a detectable amount of fentanyl (N-phenyl-N-1 l1-(2-phenylethyl)-4-piperindinyl]
propanamide), a Schedule   II Controlled   Substance;

      3.        With respect to EDUARDO ANDERSON, also known as "Doe," the
offense involved 1 kilogram    or more of a mixture and substance containing a
detectable amount of heroin, a Schedule I Controlled Substance; and
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     4.       With respect to ALVIN WILLIAMS, the offense involved 1-00 grams or

more of a mixture and substance containing a detectable amount of heroin, a

Schedule   I Controlled Substance.
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                                   COUNT TWO

      The SPECIAL FEBRUARY 2OL7 GRAND JURY further charges:

      On or about September 14, 20t7, at Chicago, in the Northern District of

Illinois, Eastern Division,

                               JONATTIAN MASON,
                              EDUARDO ANDERSON,
                               and DERRICK WILTZ,

defendants herein, did knowingly and intentionally distribute a controlled substance,

namely, a quantity of a mixture and substance containing a detectable amount of

heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 841(a)(1), and Title   18,

United States Code, Section 2.
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                                   COUNT THREE

      The SPECIAI FEBRUARY 20L7 GRAND JURY further charges:

      On or about October 18,    20L7 ,   at Chicago, in the Northern District of Illinois,

Eastern Division,

                             JONATHAN MASON and
                               DERRICK WILTZ,

defendants herein, did knowingly and intentionally distribute a controlled substance,

namely, a 100 grams or more of a mixture and substance containing a detectable

amount of heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States      Code, Section 841(a)(1), and   Title   18,

United States Code, Section 2.
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                                   COUNT FOUR

      The SPECIAL FEBRUARY 2017 GRAND JURY further charges:

      On or about November 22,2017, at Chicago, in the Northern District of Illinois,

Eastern Division,

                             JONAT}IAN MASON,
                           EDUARDO ANDERSON, and
                               DENNIS NTYERS,

defendants herein, did knowingly and intentionally distribute a controlled substance,

namely, 100 grams or more of a mixture and substance containing a detectable

amount of heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 841(a)(1), and Title   18,

United States Code, Section 2.
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                                     COUNT FIVE

      The SPECIAL FEBRUARY 2Ol7 GRAND JURY further charges:

      On or about December 6,20L7 , at Chicago, in the Northern District of Illinois,

Eastern Division,

                              JONATHAN MASON and
                                KEVIN TWYMAN,

defendants herein, did knowingly and intentionally possess with intent to distribute

a controlled substance, namely, 400 grams or more of a mixture and substance
containing   a   detectable amount of fentanyl (N-phenyl-N-1 [1-(2-phenylethyl)-4-

piperindinyll propanamide), a Schedule II Controlled Substance; and 100 grams or

more of a mixture and substance containing a detectable amount of heroin, a

Schedule   I Controlled Substance;

      In violation of Title 21, United States Code, Section 841(aX1), and Title   18,

United States Code, Section 2.
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                                      COUNT SIx

      The SPECIAL FEBRUARY 2Ol7 GRAND JURY further charges:

      On or about February   7   ,2018, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                  KAREEM MOONEY,

defendant herein, did knowingly and intentionally possess with intent to distribute a

controlled substance, namely, a quantity a mixture and substance containing a

detectable amount of heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 8a1(a)(1).
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                                    COUNT SEVEN

      The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

      On or about February   7   ,2018, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                   DEON PUGH and
                                   DERRICK WILTZ,

defendants herein, did knowingly and intentionally distribute a controlled substance,

namely, a quantity a mixture and substance containing a detectable amount of

heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 8a1(aX1) and Title        18,

United States Code, Section 2.
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                                  COUNT EIGHT

      The SPECIAL FEBRUARY 2OL7 GRAND JURY further charges:

      On or about February 21,2OL8, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                MARTELL WIIITE,

defendant herein, did knowingly and intentionally possess with intent to distribute a

controlled substance, namely, a quantity a mixture and substance containing a

detectable amount of heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 841(a)(1).
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                                   COUNT NINE

      The SPECIAL FEBRUARY 2017 GRAND JURY further charges:

      On or about February 23,2018, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                ALVIN WILLIAMS,

defendant herein, did knowingly and intentionally possess with intent to distribute a

controlled substance, namely, a quantity a mixture and substance containing a

detectable amount of heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 841(aX1).
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                                       COUNT TEN

      The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

      On or about February 26,20l8,at Chicago, in the Northern District of Illinois,

Eastern Division,

                                 JONATHAN MASON,
                                  DEON PUGH, and
                                  RYAN PEARSON,

defendants herein, did knowingly and intentionally distribute a controlled substance,

namely, a quantity of a mixture and substance containing a detectable amount of

cocaine, a Schedule   II Controlled   Substance;

      In violation of Title 21, United States Code, Section 841(aX1), and Title   18,

United States Code, Section 2.
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                                 COUNT ELEVEN

      The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

      On or about February 26,2018, at Chicago, in the Northern District of Illinois,

Eastern Division,

                              WILLIAM RUTLEDGE,

defendant herein, did knowingly and intentionally possess with intent distribute a

controlled substance, namely, a quantity of a mixture and substance containing a

detectable amount of cocaine, a Schedule   II Controlled   Substance;

      In violation of Title 21, United States Code, Section 841(aX1).
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                                 COUNT TWELVE

      The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

      On or about March L4,2018, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                   DEON PUGH,

defendant herein, having been previously convicted of a crime punishable by a term

of imprisonment exceeding one year, did knowingly possess   in and affecting interstate

commerce   a firearm, namely, a loaded SCCY, model CPX-29mm caliber              semi-

automatic pistol, bearing serial number 116092, which firearm had traveled in

interstate commerce prior to defendant's possession of the firearm;

      In violation of Title 18, United States Code, Section 922(dO).
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                             FORFEITURE ALLEGATION

      The SPECIAL FEBRUARY 20L7 GRAND JURY further alleges:

          1.   Upon conviction of an offense inviolation of Title 21, United States Code,

Sections 841,843, and 846, as set forth in this Indictment, defendants shall forfeit to

the United States of America any property which constitutes and is derived from

proceeds obtained, directly and indirectly, as a result of the offense; and any property

used, and intended to be used,      in any manner and part, to commit and facilitate
commission of the offense, as provided      in Title 21, United States Code, Sections
853(a).

      2.       The property to be forfeited includes, but is not limited to:

               a.    the following specific property:

                     i.     a Smith and Wesson .357 Magnum revolver, model 686-6,
                            bearing serial number CEZ9L27;

                     ii.    a Cobra Enterprise of Utah, Inc. semi-automatic pistol,
                            model FS380, bearing serial number FS091635;

                     iii.   a loaded HiPoint semi-automatic pistol and  magazine
                            containing 8 rounds, model JHP .45 ACP, bearing serial
                            number X4250620;

                     iv.    a loaded Smith and Wesson 9mm semi-automatic pistol
                            and magazine containing 4 rounds, model M& P Shield,
                            bearing serial number ID(86635;

                     v.     a silver Ruger .357 caliber revolver, model SP101, bearing
                            serial number 57 549809;

                     vi.    approximately 200 rounds of ammunition seized by law
                            enforcement on March L4,20t8 from a residence on the
                            6400 block of S. Martin Luther King Drive in Chicago,
                            Illinois;
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                 vii.    a loaded SCCY 9mm semi-automatic pistol, model CPX-2,
                         bearing serial number 1L6092;

                 viii.   a Sekins .223 caliber precision rifle, model SBA15, bearing
                         serial number t2332;

                 ix.     a loaded magazine, PMAC 30, 5.56x25 EN 312-000     with   19
                         .223 caliber rounds;

                 x.      a black 2OI3 Audi, bearing VIN                     number
                         WAURGAFDXDNO1ST3O;

                 xi.     $+OS seized   by law enforcement on May 1, 20L8, from
                         RUTLEDGE;

                 xii.    $1,350 seized by law enforcement on February 26,2018,
                         from RUTLEDGE;

                 xiii.   $2,926 seized by law enforcement on March 14,2018, from
                         WILLIAMS;

                 xiv.    $4,619 seized by law enforcement on March t4,20L8, from
                         PUGH.
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      3.     If any   of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has           been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or hhs been

commingled   with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property,      as

provided in Title 21, United States Code, Section S53(p).



                                                A TRUE BILL:




                                                FOREPERSON



UNITED STATES ATTORNEY
